CASE 0:24-cv-02944-KMM-JFD Doc. 1 Filed 07/25/24 Page 1 of 11

D usel4 +4 Kom /

JFO
UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA
Civil No.
United States of America,
Plaintiff, FILED UNDER SEAL
V.
COMPLAINT FOR
1. Evergreen Recovery Inc.; PERMANENT INJUNCTION
2. Evergreen Mental Health Services Inc.; AND OTHER EQUITABLE
3. Ethos Recovery Clinic Inc. WED
4. Second Chances Recovery Housing Inc.;
5. Second Chances Sober Living, Inc.; RECENW
6. David Backus; ah
7. Shawn Grygo; and WL 25
8. Shantel Magadanz,
pisTRICT =<SOTA
Defendants. US. MINN
:APOUS,

Plaintiff United States of America, for its Complaint against Defendants, alleges:

1. The United States brings this action for a temporary restraining order,
preliminary and permanent injunction, and other equitable relief pursuant to 18 U.S.C.
§ 1345 to enjoin the alienation and disposition of property derived from the commission of

the fraud or property of equivalent value for the purpose of preventing a continuing and

| SCANNED
JURISDICTION AND VENUE | JUL 25 2024
| U.S. DISTRICT COURT MP

substantial injury to the United States, the State of Minnesota, and the public.

2. Plaintiff is the United States of America.
3. Defendants are all either residents of the State of Minnesota, persons who
transact business in the State of Minnesota, or corporations who transact business in the

State of Minnesota. Personal jurisdiction is proper over each Defendant as they either
CASE 0:24-cv-02944-KMM-JFD Doc. 1 Filed 07/25/24 Page 2 of 11

reside in or transact business in the State of Minnesota.

4. This Court has subject matter jurisdiction over this section pursuant to 18
U.S.C. § 1345.
5. Venue is proper pursuant to 28 U.S.C. § 1391.
THE PARTIES
6. Medicaid is a public health insurance program. Each state in the United

States has its own Medicaid program that is jointly funded by the federal and state
governments. Federal funding is distributed from the Centers for Medicare and Medicaid
Services (“CMS”), part of the U.S. Department of Health and Human Services. State
funding is distributed from the Minnesota Department of Human Services (“DHS”). DHS
also has the authority to certify private managed care organizations (“MCOs”) to pay for
defined health care benefits for people enrolled in Medicaid in exchange for a capitated
payment, which is a fixed amount of money that Medicaid pays medical providers for each
patient enrolled in the health plan. This Complaint will refer to these entities collectively
as “Medicaid.”

7. Evergreen Recovery Inc. (“Evergreen Recovery”) is a business incorporated
under Minnesota Statutes Chapter 302A. It is licensed by DHS to provide substance use
disorder treatment to members of the public. Evergreen Recovery is currently serving
approximately 600 clients. It is owned by David Backus and conducts business at 1400
Energy Park Drive in Saint Paul, Minnesota. Virtually all of Evergreen Recovery’s clients
receive health insurance from Medicaid. Evergreen Recovery’s total Medicaid revenue has

grown annually from approximately $1 million in 2019 to $20 million in 2023.

2
CASE 0:24-cv-02944-KMM-JFD Doc. 1 Filed 07/25/24 Page 3 of 11

8. Evergreen Mental Health Services Inc. (“Evergreen Mental Health
Services”) is a business incorporated under Minnesota Statutes Chapter 302A. It offers
psychiatric medication management and mental health therapy services to Evergreen
Recovery clients. Evergreen Mental Health Services is co-owned by Backus and his wife,
Shawn Grygo. Evergreen Mental Health Services conducts business at 1400 Energy Park
Drive in Saint Paul, Minnesota.

9. Ethos Recovery Clinic Inc. (“Ethos Recovery Clinic”) is a business
incorporated under Minnesota Statutes Chapter 302A. It is licensed by DHS to provide
outpatient opioid treatment. Ethos Recovery Clinic is currently serving approximately 80
clients. It is co-owned by Backus and Grygo. Ethos Recovery Clinic conducts business at
7766 Highway 65 NE in Spring Lake Park, Minnesota.

10. Second Chances Recovery Housing, Inc. (“Second Chances Recovery
Housing”) is a business incorporated under Minnesota Statutes Chapter 302A. It offers
supportive services housing. Backus and Grygo co-own Second Chances Recovery
Housing. It conducts business at 1400 Energy Park Drive in Saint Paul, Minnesota.

11. Second Chances Sober Living, Inc. (“Second Chances Sober Living”) is a
business incorporated under Minnesota Statutes Chapter 302A. It owns or affiliates with
sober living homes where most of Evergreen Recovery’s clients live free of charge and is
currently providing housing for approximately 520 Evergreen Recovery clients. Second
Chances Sober Living is owed by Backus and conducts business at 1400 Energy Park Drive
in Saint Paul, Minnesota.

12. Only Evergreen Recovery and Ethos Recovery Clinic bill Medicaid for
3
CASE 0:24-cv-02944-KMM-JFD Doc. 1 Filed 07/25/24 Page 4 of 11

providing services to clients and therefore receive Medicaid payments. However, the other
entities all purport to provide services to Evergreen Recovery and Ethos Recovery Clinic
clients.

13. | David Backus owns Evergreen Recovery and Second Chances Sober Living.
He has a 50 percent interest in Evergreen Mental Health Services, Second Chances
Recovery Housing, and Ethos Recovery Clinic; he co-owns these businesses with Grygo,
his wife. He resides in Minnesota.

14. Shawn Grygo has a 50 percent interest in Evergreen Mental Health Services,
Second Chances Recovery Housing, and Ethos Recovery Clinic; she co-owns these
businesses with Backus, her husband. Grygo is the registered agent of Evergreen Recovery
and is primarily responsible for operating the business. She resides in Minnesota.

15. Shantel Magadanz is Evergreen Recovery’s Chief Clinical Officer. She is
primarily responsible for operating the clinical side of Evergreen Recovery and is friends
with Backus and Grygo. She resides in Minnesota.

THE FRAUD SCHEME

16. The United States’ investigation is set forth in detail in the Affidavit of FBI
Special Agent Kurt Beulke, filed concurrently with this Complaint. In summary, the United
States’ investigation has revealed that Defendants have devised a scheme to defraud the
United States, the State of Minnesota, and private MCOs (collectively, “Medicaid”). See
generally Beulke Affidavit.

17. | The United States has probable cause to believe Defendants have conspired

to commit offenses against the United States by engaging in an illegal and fraudulent

4
CASE 0:24-cv-02944-KMM-JFD Doc. 1 Filed 07/25/24 Page 5 of 11

scheme to bill Medicaid for substance abuse treatment services not provided in violation
of 18 U.S.C. § 1347 (“Health care fraud”).

18. | Evergreen Recovery bills Medicaid for group counseling services it does not
provide. Beulke Affidavit §§ 34(a)-(b); 48-41; passim. For example, after Evergreen
Recovery’s counselors submit signed attendance logs to Evergreen Recovery’s billing
employees, Evergreen Recovery routinely adds client names who did not attend group
counseling to the logs and bills Medicaid for having provided those services. Jd. 4 34(a).

19. Evergreen Recovery also bills for group counseling services it does not
provide when it provides free lunches and dinners for its clients. Evergreen Recovery bills
Medicaid for an hour of “group counseling” for each meal provided, asserting clients were
provided “therapeutic recreation” even when they simply take a meal from Evergreen
Recovery and Evergreen Recovery provides them no services. Jd. | 34(b); passim.

20. Inrecent years, somewhere between 30 to 40 percent of the hours Evergreen
Recovery has billed Medicaid for group counseling services are falsified. /d. §] 54. These
fraudulent claims subject CMS, DHS, and the public fisc to continuing and substantial
economic harm. Jd.

21. The United States also has probable cause to believe that Defendants have
conspired to commit offenses against the United States by engaging in an illegal and
fraudulent kickback scheme in violation of 42 U.S.C. § 1320a-7b (“Anti-Kickback
Statute”).

22. Evergreen Recovery and Ethos Recovery Clinic provide free housing to the

vast majority of their clients in exchange for those clients committing to attend a certain

5
CASE 0:24-cv-02944-KMM-JFD Doc. 1 Filed 07/25/24 Page 6 of 11

level of programming for which Evergreen Recovery and Ethos Recovery Clinic can bill
Medicaid. Beulke Affidavit §§ 39-44. Evergreen Recovery and Ethos Recovery Clinic thus
fraudulently bill Medicaid for services tainted by illegal kickbacks, subjecting CMS, DHS,
and the public fisc to continuing and substantial economic harm.

23. The magnitude of the fraud perpetrated by the Defendants is substantial. It is
estimated that Defendants have received at least $8.9 million in Medicaid payments from
claims Evergreen Recovery submitted for group counseling services it did not provide. /d.
454. It is estimated that the Defendants have received at least $28 million in Medicaid
payments from claims induced via illegal kickbacks. Jd. | 55.

24.  Asaresult of their scheme to defraud, Defendants have been able to amass
assets including expensive homes, real property, and luxury vehicles. /d., {| 56—60. The
individual defendants also frequently travel via private jet and take expensive vacations to
destinations including Las Vegas, Nevada, the Hamptons in New York, and Disney World
in Florida. Id.

25. The United States has probable cause to believe that Defendants are
dissipating, and will continue to dissipate, the proceeds from their fraud scheme. Id.
4] 61-66. At the same time Defendants purchase expensive cars and travel on expensive
vacations, they are repeatedly unable to pay Evergreen Recovery’s and Ethos Recovery
Clinic’s employees. Id.

26. Evergreen Recovery’s financial challenges have accelerated in recent
months. Jd. § 63. In June and July 2024, Evergreen Recovery has been unable to pay its

employees on at least three separate paydays. Jd. At an all-employee meeting on July 23,

6
CASE 0:24-cv-02944-KMM-JFD Doc. 1 Filed 07/25/24 Page 7 of 11

2024, after Backus and an employee almost engaged in a physical fight, Grygo wrote paper
checks to all employees present for the wages they were owed, plus an additional $1,000
bonus each. Jd. § 65. At least some of the employees who attempted to cash the checks
were unable to as they were rejected by the bank. Jd. § 65.

27. Ethos Recovery Clinic employees have also not been paid recently. One
employee reports he was provided with a paper check that was returned by the bank the
week of July 22, 2024 because the bank reported the account had been closed. /d. {| 66.

COUNT ONE - INJUNCTIVE RELIEF
18 U.S.C. § 1345; Fed. R. Civ. P. 65

28. The United States realleges and incorporates by reference paragraphs 1
through 27 of this Complaint.

29. Based upon the investigation conducted in this case, and the allegations
contained in this Complaint, the United States has probable cause to believe that
Defendants have committed offenses under 18 U.S.C. § 1347 (Health care fraud) and 42
U.S.C. § 1320a-7b (the Anti-Kickback Statute). The public has suffered immediate and
irreparable injury, loss, and damage because of Defendants’ scheme to defraud.

30. | The United States brings this action to restrain the transfer of funds and assets
now in Defendants’ hands as ill-gotten gains.

31. | Upona showing of probable cause that Defendants are committing a federal
health care offense, as defined by 18 U.S.C. § 24(a), the United States is entitled, pursuant
to 18 U.S.C. § 1345(a)(2), to a temporary restraining order, a preliminary injunction, a

permanent injunction, and any other action which this Court deems just. This relief may
CASE 0:24-cv-02944-KMM-JFD Doc. 1 Filed 07/25/24 Page 8 of 11

include an order freezing Defendants’ assets that are the product of, or profit on the product
of, their fraud.

32. Pursuant to Federal Rule of Civil Procedure 65(b), an applicant may be
granted a temporary restraining order without written or oral notice to the adverse party or
that party’s attorney if it clearly appears from specific facts shown by an affidavit that
immediate and irreparable injury will result before the adverse party can be heard.

33. Pursuant to 18 U.S.C. § 1345, a permanent or temporary injunction or
restraining order shall be granted without bond.

PRAYER FOR RELIEF

WHEREFORE, the United States requests, pursuant to 18 U.S.C. § 1345 and the
Court’s inherent equitable powers, that the Court:

A. Issue a temporary restraining order and, after hearing, a preliminary
injunction preventing Defendants; their agents (including financial and banking institutions
and other entities having possession or control of Defendants’ assets); their officers; their
employees; and all persons in active concert or participating with Defendants in their
affairs:

1. from transferring, converting, encumbering, selling, concealing,
dissipating, disbursing, assigning, spending, withdrawing, or otherwise
disposing of any funds, property, artwork, coins, precious metals, jewelry,
contracts, share of stock, or other assets, wherever located, that are: (a)
owned or controlled by Defendants, in whole or in part; or (b) in the actual

or constructive possession of Defendants; or (c) owned, controlled by, or in

8
CASE 0:24-cv-02944-KMM-JFD Doc. 1 Filed 07/25/24 Page 9 of 11

B.

the actual or constructive possession of any entity that is directly or indirectly
owned, managed, controlled by, or under common control with Defendants,
including, but not limited to, any assets up to and including $28 million held
by or for Defendants in any account at any bank or financial institution, or
with any broker-dealer, escrow agent, title company, commodity trading
company, previous metal dealer, or other financial institution of any kind;
and

2. from opening or causing to be opened any safe deposit boxes or storge
facilities titled in the name of any Defendant, or subject to access by any
Defendant or under their control, without providing the United States prior
notice and an opportunity to inspect the contents in order to determine that
they contain no assets covered by this Complaint;

Order Defendants, their agents, employees, attorneys, and all persons acting

in concert and in participation with them to provide to the United States within seven (7)

business days a list of all financial institutions, including but not limited to banks and

brokerage houses, at which all Defendants currently maintain or have maintained savings,

checking, or other accounts in the previous four (4) years; savings, checking, or any other

kind of account or other safe deposit box into which money has been deposited in

Defendants’ names or in the names of their agents, employees, officers, persons acting in

concert with them, or any business names under which they operated, together with the

number or other designation of each such account or box;

C.

Provide that between the date of the service of a Temporary Restraining

9
CASE 0:24-cv-02944-KMM-JFD Doc. 1 Filed 07/25/24 Page 10 of 11

Order on Defendants and a hearing on a preliminary injunction, the United States and
Defendants can agree to unfreeze accounts necessary for the continuing payment of
employees and continuation of treatment services until the Court considers the appointment
of a receiver pursuant to 18 U.S.C. § 1345(a)(2)(B)(i);

D. Enjoin Defendants from conditioning residence in Second Chances Sober
Living Homes or other homes for which Defendants pay rent or other remuneration to a
third-party on enrollment in Evergreen Recovery or Ethos Recovery Clinic drug treatment
programs;

E. Enjoin Defendants from closing any Second Chances Sober Living or
affiliated residence without advanced notice to the United States;

F, Require Defendants to fully comply with the Minnesota statutory schemes
by which their operations are governed, including but not limited to requirements that
Defendants:

1. Provide DHS with full access to their premises, records, employees,
and clients pursuant to Minn. Stat. § 245A.04, subd. 5;

2. Maintain client health and safety and protect client rights pursuant to
Minn. Stat. § 245G.15;

3. Ensure that employees are not subject to retaliation for engaging in
good-faith communications with DHS or law enforcement about client rights,
health, or safety pursuant to Minn. Stat. § 24513, subd. 1(1);

4, Comply with all specified requirements related to client records

outlined in Minn. Stat. § 245G.09;
10
CASE 0:24-cv-02944-KMM-JFD Doc. 1 Filed 07/25/24 Page 11 of 11

5. Comply with all requirements requiring treatment service and
treatment coordination and coordinate, as applicable, with probation officers,
county workers, guardians and other required persons as necessary to ensure
treatment coordination; and

6. To the extent Defendants intend to cease operations, (i) follow all
requirements of their service termination policies pursuant to Minn. Stat. § 245G.14
and (ii) plan for transfer of clients and records upon closure as outlined in Minn.
Stat. § 245GA.04, section 15a, including but not limited to notifying affected clients
of the closure at least 25 days prior to closure and providing clients with information
on how to access their records; and
G. Award such other additional relief as the Court determines to be just and

proper.

Dated: July 25, 2024 ANDREW M. LUGER
United States Attorney

s/Emily M. Peterson

BY: EMILY M. PETERSON
Assistant U.S. Attorney
Attorney ID No. 0395218
600 U.S. Courthouse

300 South Fourth Street
Minneapolis, MN 55415
Emily.Peterson@usdoj.gov
(612) 664-5600

Attorneys for United States of America

11
